USCA4 Appeal: 07-4115            Doc: 115              Filed: 09/24/2008             Pg: 1 of 1


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                                         CERTIFICATION OF FILING OF TRANSCRIPT
                                        **********************************************
                          U.S.A.                                    v. Lavon Dobie
                          No. 07-4115

                          Dist. Ct. No. RWT-04-0235

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                  Opening Statement (Defendant)

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                  Opinion of Court

                  Jury Instructions

                  Sentencing

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